Case 9:21-cv-81874-DMM Document 9 Entered on FLSD Docket 10/27/2021 Page 1 of 4




   United States District Court
   Southern District of Florida


   Affordable Aerial Photography, Inc.
        Plaintiff
                                                     No. 9:21-cv-81874-DMM
                        FILED BY     ~ D.C.               Angela E. Noble
                                                       Clerk of the Court
                             OCT 2b 2021
   Williams. Seery   J .      ANGELA E. NOBLE
                             CLERK U.S. DIST. CT.
        Defendant            S.D. OF FLA. - W.P.B.




                       RESPONSE TO CIVIL COMPLAINT
        In response to the Civil Complaint filed in this
   Cause,   Defendant states as follows:
        1. The Court will find that Defendant has no other
   current or past cases in any Federal, State, or Local
   jurisdiction .
        2 . The Court will find that Defendant, in an
   abu ndance of concern for the law, has immediately removed
   any and all photography from the website described in the
   complaint .
        3. The Court will find Defendant without means to pay for
   legal counsel which can be substantiated with tax filings, bank
   statements, credit card statements, and 1099 forms.
        WHEREFORE, Defendant asks the Court to:
Case 9:21-cv-81874-DMM Document 9 Entered on FLSD Docket 10/27/2021 Page 2 of 4




        4. Apply the Defendant to the Volunteer Attorney Program .
        5. Find the attached Motion For Referral To Volunteer
  Attorney Program.
        6. Award a ny additional and further relief that the Court
   may deem appropriate.
                                         Defendant, prose

                                          ~/


   Certificate of Service
   I hereby certify that a true and correct copy of the foregoing
   was served by registered U.S. Mail on October 25, 2021, on all
   counsel or parties of record on the Service List below .
   Signature:
   Printed name: Williams. Seery, Jr.


   James D' Loughy, Esq.
   Copycat Legal PLLC
   3111 N. University Drive
   Coral Springs, Florida 33065
   Attorney for Plaintiff
Case 9:21-cv-81874-DMM Document 9 Entered on FLSD Docket 10/27/2021 Page 3 of 4




        UNITED STATES DISTRICT COURT • SOUTHERN DISTRICT OF FLORIDA


  Affordable Aerial Photography, Inc., Plaintiff,

  vs. Case No. 9:21-cv-81874-DMM William S. Seery Jr., Defendant


  Motion For Referral To Volunteer Attorney Program

   I, William S. Seery Jr., am a prose party representing myself in this case and
   have requested authorization to proceed informa pauperis pursuant to 28
   U.S.C. § 1915 or am otherwise unable to afford a lawyer. Therefore, I request
   that the Court refer my request to the Court's Volunteer Attorney Program. I
   understand that it will be up to volunteer attorneys, not the Court, to determine
   whether they wish to represent me. If a volunteer attorney agrees to take my
   representation, I will cooperate with that counsel in the preparation and
   presentation of my case.

   Signature:     ~             /

   Printed name: WilliamS.! .ery, Jr.

   Address:

   1141 SW 12th St.

   Boca Raton, Florida 33486

  Certificate of Service

  I hereby certify that a true and correct copy of the foregoing was served by
  registered U.S. Mail on October 25, 202 1, on all counsel or parties of record
  on the Service List below.

  Signature:    ~L                       Printed name: William S. Seery, Jr.

  SERVICE LIST
  James D'Loughy, Esq.
  Copycat Legal PLLC
  3111 N. University Drive
  Coral Springs, Florida 33065, Attorney for Plaintiff
    Case 9:21-cv-81874-DMM Document 9 Entered on FLSD Docket 10/27/2021 Page 4 of 4




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